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                 IN THE UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF NEW JERSEY
_______________________________________________
                            :
CARMINE DECAMILLIS, III     :
                            :    JURY DEMANDED
          Plaintiff,        :
                            :   Civil Action No.
                            :
          v.                :
                            :
EDUCATIONAL INFORMATION AND :
RESOURCE CENTER             :
                            :
          &                 :
                            :
CHARLES M. IVORY            :
                            :
          &                 :
                            :
MICHAEL PROCOPIO                               :


                                          COMPLAINT

          Plaintiff, Carmine De Camillis, by and through his undersigned counsel, hereby files this

Complaint against Defendant Educational Information and Resource Center and avers as

follows:


                              I. PARTIES AND JURISDICTION

          1.     Plaintiff, Carmine De Camillis (hereinafter “Plaintiff” or “De Camillis”), is an

adult individual residing at 151 Glen Echo Avenue, Swedesboro, Gloucester County, New

Jersey.
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        2.       Defendant,   Educational    Information    and   Resource    Center    (hereinafter

“Defendant” or “EIRC”) is a New Jersey limited liability company which has a principal place of

business at 200 College Drive, Blackwood, Camden County, New Jersey.


        3.       Defendant Charles M. Ivory (“Ivory”) is an adult individual who, upon

information and belief, is currently employed at Camden County Community College, with a

principle place of business at 200 College Dr., Blackwood, Camden County, New Jersey.


        4.       At all times relevant herein, Ivory was an “employer” of Plaintiff within the

meaning of the FLSA and New Jersey Wage Laws.


        5.       Defendant Michael Procopio (“Procopio”) is an adult individual who, upon

information and belief, is currently employed by Pemberton Township School District, with a

principle place of business at One Egbert Street, Pemberton. Burlington County, New Jersey.


        6.       At all times relevant herein, Procopio was an “employer” of Plaintiff within the

meaning of the FLSA and New Jersey Wage Laws.


        7.       This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because the claims herein arise under the law of the United States, the FLSA.

This Court has supplemental jurisdiction over related state law claims because they arise out of

the same circumstances and are based upon a common nucleus of operative fact.


        8.       Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b)(1) and

(b)(2) because Defendant resides in and/or conducts business in this judicial district and because

a substantial part of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district.


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                               II. FACTUAL ALLEGATIONS

       9.      Defendant EIRC is a public agency specializing in education-related programs

and services for parents, schools, communities, nonprofit organizations and privately held

businesses throughout New Jersey.

       10.     Defendant Ivory was the Executive Director of EIRC throughout most of

Plaintiff’s time as an employee at EIRC and acted directly in the interest of EIRC.

       11.     Defendant Procopio was the Director of Technology of EIRC throughout

Plaintiff’s employment with EIRC and acted directly in the interest of EIRC.

       12.     Defendants are all employers covered by the record-keeping minimum wage,

wage payment and overtime pay mandates of the Fair Labor Standards Act (FLSA) and the New

Jersey Wage and Hour Law (NJWHL).

       13.     On or about July 14, 2014, Plaintiff was hired by Defendants to work as an

installation technician.

       14.     Throughout Plaintiff’s employment with Defendanst, Plaintiff installed low

voltage cabling in schools throughout New Jersey.

       15.     At all times relevant to this complaint, Plaintiff’s base rate of pay was set by

Defendants at $18.00 per hour.

       16.     While employed by Defendants, Plaintiff always worked full work weeks of forty

(40) hours per week.

       17.     While employed by Defendants, Plaintiff always worked in excess of the forty

(40) hour work week.

       18.     Upon information and belief, Defendant Procopio, as Plaintiff’s supervisor, set

Plaintiff’s weekly work schedule, deciding where and when Plaintiff would work.



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          19.   Despite working in excess of forty (40) hours per week, Plaintiff never received

overtime pay.

          20.   Each hour that Plaintiff worked while in Defendant’s employee was paid at the

rate of $18.00 per hour.

          21.   Upon information and belief, Defendant Ivory, as the Executive Director of EIRC,

determined Plaintiff’s base wages and decided not to pay Plaintiff overtime for hours worked in

excess of forty (40) hours per week.

          22.   Throughout Plaintiff’s employment with Defendant, Plaintiff did not classify as

an “exempt” employee under the FLSA.


                                           COUNT I
                            Violation of the Fair Labor Standards Act
                            (Failure to Pay Overtime Compensation)


          23.   Plaintiff incorporates by reference Paragraphs 1 through 22 as if fully set for
herein.

          24.   At all times relevant herein, Defendants were employers within the meaning of

the FLSA.


          25.   At all times relevant herein, Defendants were responsible for paying wages to

Plaintiff.


          26.   At all times relevant herein, Plaintiff was employed with Defendants as an

“employee” within the meaning of the FLSA.


          27.   Plaintiff was not an “exempt” employee for purposes of the overtime provisions

of the FLSA.




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          28.   Defendants failed to pay Plaintiff for hours worked by him in excess of 40 per

workweek.


          29.   Under the FLSA, an employer must pay an employee who is not exempt from the

overtime provisions of law at least one and one half time his base rate for each hour worked in

excess of forty hours per workweek.


          30.   Defendants’ violations of the FLSA include not paying Plaintiff any overtime pay

for overtime hours spent above the forty hours Plaintiff each week.


          31.   Defendants’ conduct in failing to pay Plaintiff was willful and not based upon any

reasonable interpretation of the law.


          32.   As a result of Defendant’s unlawful conduct, Plaintiff has suffered damages as set

forth herein.


                                           COUNT II
                               Violation of New Jersey Wage Laws
                             (Failure to Pay Overtime Compensation)


          33.   Plaintiff incorporates by reference Paragraphs 1 through 32 as if fully set for
herein.

          34.   At all times relevant herein, Defendants were employers within the meaning of

the New Jersey Wage Laws.


          35.   At all times relevant herein, Defendants were responsible for paying wages to

Plaintiff.


          36.   At all times relevant herein, Plaintiff was employed with Defendants as an

employee within the meaning of the New Jersey Wage Laws.


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       37.      Under the New Jersey Wages Laws, an employer must pay a non-exempt

employee at least one and one half times his base rate for each hour worked in excess of forty

hours per workweek.


       38.      At all relevant times herein, Plaintiff was not an “exempt” employee for purposes

of the overtime provisions of the New Jersey Wage Laws.


       39.      Defendants’ violations of the New Jersey Wage Laws include failing to pay

Plaintiff for hours worked by him in excess of 40 per workweek.


       40.      Defendants’ conduct in failing to pay Plaintiff properly was and is willful and was

not based upon any reasonable interpretation of the law.


       41.      As a result of Defendants’ unlawful conduct, Plaintiff has suffered damages as set

forth herein.


                                   III. RELIEF REQUESTED

       WHEREFORE, Plaintiff demands judgment in his favor and against Defendants and

that this Court enter an Order providing that:


       A.       Defendant are to compensate, reimburse, and make Plaintiff whole for any and all

pay and benefits he would have received had it not been for Defendants’ illegal actions,

including but not limited to past lost earning. Plaintiff should be accorded those benefits

illegally withheld;

       B.       Plaintiff is to be awarded liquidated damages as applicable under the Fair Labor

Standards Act and New Jersey Wage Laws in an amount equal to the actual damages in this case.




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       C.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorneys’ fees as provided by applicable federal and state law.

       D.      Any other further relief this Court deems just proper and equitable.




       Date: July 12, 2018            LAW OFFICES OF ERIC A. SHORE, P.C.


                                      BY: s/ Graham F. Baird

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